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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 LEVI LAMOREAU,

        Plaintiff/Counter-Defendant,

 v.

 CREDIT ACCEPTANCE CORPORATION,

       Defendant/Counter-Claimant.                                     Case No. 1:18-cv-1288
 ____________________________
                                                                       HON. JANET T. NEFF
 CREDIT ACCEPTANCE CORPORATION,

        Third-Party Plaintiff,

 v.

 AUTUMN YORK,

        Third-Party Defendant.
 ____________________________/

                                             ORDER

       This Court having been informed through the filing of Plaintiff’s Notice of Settlement

(ECF No. 10) of the parties’ agreement to settle this matter:

       IT IS HEREBY ORDERED that appropriate dismissal papers shall be filed with the Court

no later than May 17, 2019.




Dated: March 19, 2019                                            /s/ Janet T. Neff
                                                                JANET T. NEFF
                                                                United States District Judge
